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  Message
  From:            Stuart Yudofsky [stuart.yudofsky@gmail.com]
  Sent:            5/4/2017 12:27:18 AM
  To:              Bob Brockman [bob_brockman@reyrey.com]
  Subject:         Anosmia


  Good evening, Bob:

  There are dozens of potential causes of anosmia--as there are for memory loss.

  If you are comfortable doing so, I suggest that you begin by meeting with me. That will help me assess the severity and
  significance of your memory symptoms, as well as utilize this information to direct you to the best professional--
  discipline, person, and/or system--for assessment and, as required, care.

  As you know, Bob, I am a neuropsychiatrist and have extensive hands-on experience with memory and cognitive
  changes.

  I am available in the mornings from 9 AM until noon over the next several days, and can be available at any time over
  the weekend.

  Please let me know how you would like to proceed.

  Warmest regards,

  Stuart




  On May 3, 2017, at 4:27 PM, Bob Brockman <bob brockman@reyrey.com> wrote:

             Stuart,

             Robert and Dorothy are after me to consult with the right doctor regarding my loss of my
             sense of smell.

             They are afraid that it is an early sign of alzheimer's or dementia.

             I am feeling good but am having increasing memory problems.

             Is there a doctor that you can recommend?

             Bob




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